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Dear Judge Engelmayer:

I met Ari Teman through the New York City comedy scene in 2016. We are both
comics, and we met at a comedy club through a mutual friend who is a well-known
comedian. We hit it off and I invited Ari to perform on a show that I was running at the
time. He came, and that’s when we became friends. He was so funny and even helpful,
that I told him he had an open invitation to come and perform every week if he wanted
to. Since he lived near the club where I produced the show, he took me up on the offer
and would attend often.

I always enjoyed having Ari around since he was kind, supportive to me and the other
comics, and was genuinely interested in comedy and life in general. We have hilarious
conversations! The comedy world can be pretty cut throat, so I am very happy to have
Ari as a friend.

When he learned that I was an orthodox Jewish mom, he introduced me to a writer at
the New York Post who later did a story on me. Ari is always making introductions, as
he is very generous.

Over the years, we have gotten together for dinners, referred each other for comedy
shows and celebrated birthdays.

I have found Ari to be a compassionate person who I enjoy spending time with, and he
is always respectful. I have invited him for Shabbat dinners many times, but he has yet
to take me up on it! Ari is a true “mentch” and I feel terrible that he is in this unfortunate
situation.

Best regards,




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